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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MARYLAND
                             (Baltimore Division)
                                        :
BRIGGETTE SMITH,                        :
                                        : CIVIL ACTION NO.: 1:15-cv-02925
                     Plaintiff,         : COMPLAINT
     v.                                 :
                                        : JURY TRIAL DEMANDED
MAXIM HEALTHCARE SERVICES, INC. :
                                        :
                     Defendant.

                             COMPLAINT AND JURY DEMAND

       Plaintiff, Briggette Smith, by and through the undersigned attorneys, hereby brings this

Complaint against Defendant, MAXIM HEALTHCARE SERVICES, INC., and states as

follows:

       1.      Plaintiff contends that Defendant violated the Fair Labor Standards Act of 1938,

29 U.S.C. §§ 201, et seq. (“FLSA”), by knowingly suffering or permitting Plaintiff to work in

excess of 40 hours during a workweek without paying overtime compensation at a rate of one-

and-one-half times the regular rate.

       2.       Plaintiff seeks a declaration that Plaintiff’s rights have been violated, an award of

unpaid wages, liquidated damages, pre- and post-judgment interest, and attorneys’ fees and costs

to make Plaintiff whole for damages suffered, and to ensure that Plaintiff and future workers will

not be subjected by Defendant to such illegal conduct in the future.

                                       JURISDICTION AND VENUE

       3.       This Court has federal question subject-matter jurisdiction over Plaintiff’s FLSA

claim as it is based on a federal statute, 29 U.S.C. §§ 201, et seq.

       4.       Venue is proper in the United States District Court for the District of Maryland


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pursuant to 28 U.S.C. § 1391(a) because Maxim resides in Maryland as a Maryland Corporation,

and a substantial part of the events giving rise to the claims occurred in this District.

                                                 PARTIES

    A. Plaintiff

        5.      Plaintiff was employed by Defendant during times material to this Complaint and

currently resides at 847 Steward St., Rochester, NY 14611.

        6.      Plaintiff worked for Defendant as a Certified Nursing Assistant (“CNA”) from

October 11, 2010 to the present date.

        7.      Plaintiff regularly worked over forty (40) hours per week while employed by

Defendant and generally spent over 20% of her time worked performing general housekeeping

duties (as opposed to patient care).

        8.      During relevant times, Defendant paid Plaintiff a straight hourly rate of

approximately $13.00 per hour for all hours worked and failed to pay overtime wages at one-

and-one-half times that hourly rate when Plaintiff worked more than forty (40) hours per week.

See Plaintiff’s Fact Sheet (attached as Exhibit A) for more specific details about her job duties,

hours worked, and time spent performing housekeeping tasks.

        9.      Plaintiff filed a Consent to Sue in Lawrence v. Maxim Healthcare Services, Inc.,

1:12-cv-02600-CAB, United States District Court, Northern District of Ohio Eastern Division,

on December 16, 2013, which was decertified by joint stipulation on March 25, 2015 and

Plaintiff’s claims tolled for sixty (60) days.

    B. Defendant

        10.      Defendant is a large and sophisticated Maryland corporation which, through

hundreds of office locations nationwide, provides in-home personal care, management and/or



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treatment of a variety of conditions by nurses, therapists, medical social workers, and home

health aides. See http://www.maximhealthcare.com/services/.

        11.       Defendant holds itself out as “committed to the highest standards of ethics and

integrity and has an ongoing commitment that business is conducted in accordance with

applicable       laws,       standards,        and         sound      ethical       business       practices.”

http://www.maximhealthcare.com/about-us/. (Last visited May 18, 2015).

                                     GENERAL ALLEGATIONS

Plaintiff

        12.      Throughout employment with Defendant, Plaintiff regularly worked more than

forty (40) hours per week in the homes of Defendant’s clients to whom she was assigned by

Defendant to provide domestic services which at times included general household work. The

work routinely performed, for example, included: meal preparation and service; cleaning the

kitchen, stove, refrigerator and other rooms; shopping for groceries and other items; making

beds; washing clothes; washing dishes; mopping/vacuuming floors; dusting; taking out trash;

errands outside of the home; attending medical and other appointments; personal hygiene care;

and mobility exercises. (See Exhibit A).

        13.       At all times material to this Complaint, Defendant paid Plaintiff her straight

hourly rate for all hours worked and failed to pay Plaintiff overtime wages at one-and-one-half

times the regular hourly rate when Plaintiff worked more than forty (40) hours per week.

Defendant

        14.      It has been Defendant’s policy not to pay its HHAs1 and CNAs overtime at a rate


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 Defendant uses various job titles for what amounts to the equivalent title of HHA and CNA, including Caregiver,
Certified Home Health Aide (“CHHA”), Centrus CHHA, Certified/Registered Nursing Assistant, Companion,
Companion Caregiver - Comp Svc, Daily Living, Direct Care Worker PA Spec, Direct Support Worker, In-Home
Respite Wkr Companion, Nursing Assistant, Nursing Assistant Registered, Personal Care Assistant (PCA”),

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of 150% of the HHAs’ and CNAs’ regular hourly rate for approximately 25 years, following its

decision to classify its HHA and CNAs as exempt employees under the FLSA, pursuant to the

Companionship Exemption.

        15.      Defendant’s decision to classify HHAs and CNAs as exempt under the

Companionship Exemption of the FLSA was not based on any written administrative regulation,

order, ruling, approval, or interpretation, of the Administrator of the Wage and Hour Division of

the Department of Labor.

        16.      Defendant made no individualized assessment as to Plaintiff when deciding to

classify her as exempt at the time of hiring.

        17.      Defendant did not make any individualized assessment as to Plaintiff’s job duties,

the amount of time spent performing general housekeeping activities, and whether general

housekeeping activities were being performed for non-clients living within the residence, for

purposes of the Companionship Exemption.

        18.      Defendant assigned work to Plaintiff, and allowed Plaintiff to perform or was

generally aware Plaintiff engaged in, work that included both exempt and non-exempt duties.

        19.      Defendant assigned work to Plaintiff, and allowed Plaintiff to perform or was

generally aware Plaintiff engaged in, work that rendered fellowship and related companionship

services to Defendant’s clients to less than 80%, of her time per week.

        20.      Defendant assigned work to Plaintiff that included providing general

housekeeping services to Defendant’s clients and to other persons/family members who reside in

client’s homes but who are not Defendant’s clients. The majority of Plaintiff’s time per week



Personal Care Assistant Homemaker, Personal Care Provider, and Respite Worker. These job titles will be referred
to as “HHAs or CNAs.”



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consisted of performing non-exempt work, i.e. general housekeeping services for the patient, or

work performed for non-patient people in the home.

       21.     Defendant provided instructions to its HHA’s on the scope of work to be

performed during her employment, and through its supervisors (called recruiters) Defendant

supervised the work being performed.

       22.     Defendant instructed Plaintiff to do “whatever it takes” to keep its clients happy.

       23.     Defendant provides its HHAs a “Plan of Care” for each client it assigns to them.

       24.     Defendant requires its HHAs to complete and submit a “Weekly Note” detailing

the time they arrived and departed a client’s home, and the tasks they performed under the

headings of Bathing, Personal, Mobility, Housekeeping, Nutrition, and Toileting/Elimination.

       25.     Through all the above, and its expertise in providing companionship services and

home healthcare services, Defendant knew or should have known that, under 29 C.F.R. § 552.6,

the “companionship services” exemption does not apply to an employee who performs general

housekeeping activities where those activities “exceed 20 percent of the total weekly hours

worked.”

       26.     As a result of Defendant’s conduct alleged herein, Defendant cannot support a

claim that its violation of the FLSA as to the Plaintiff was in good faith and/or that it had a

reasonable grounds for believing that its act or omission was not a violation of the FLSA.

       27.     In reckless disregard of the FLSA, and the work being performed by its HHA’s

and CNAs, Defendant adopted and then adhered to a policy and plan of classifying Plaintiff as

exempt from the overtime pay requirements of the FLSA.




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                               COUNT I
     VIOLATION OF THE FAIR LABOR STANDARDS ACT, 29 U.S.C. § 201, et seq.
                   FAILURE TO PAY OVERTIME WAGES

       28.     Plaintiff re-alleges and incorporates all previous paragraphs herein.

       29.     At all times relevant to this action, Defendant is an "employer" under the FLSA, 29

U.S.C. § 203(d), subject to the provisions of 29 U.S.C. §§ 201, et seq.

       30.     Defendant is engaged in interstate commerce or in the production of goods for

commerce, as defined by the FLSA.

       31.     At all times relevant to this action, Plaintiff was an “employee” of Defendant

within the meaning of the FLSA, 29 U.S.C. § 203(e)(1).

       32.     Plaintiff either (1) engaged in commerce; or (2) engaged in the production of

goods for commerce; or (3) employed in an enterprise engaged in commerce or in the production

of goods for commerce.

       33.     The positions of HHA and CNA are not exempt from the FLSA.

       34.     At all times relevant to this action, Defendant “suffered or permitted” Plaintiff to

work and thus “employed” Plaintiff within the meaning of the FLSA, 29 U.S.C. § 203(g).

       35.     The FLSA requires an employer to pay employees the federally mandated

overtime premium rate of one and a half times their regular rate of pay for every hour worked in

excess of forty (40) hours per workweek. 29 U.S.C. § 207.

       36.     Defendant violated the FLSA by failing to pay Plaintiff the federally mandated

overtime premium for all hours worked in excess of forty (40) hours per workweek.

       37.     Upon information and belief, Defendant has corporate policies of evading

overtime pay for its hourly workers.

       38.     Defendant’s violations of the FLSA were knowing and willful and not in good



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faith.

         39.    By failing to compensate its hourly workers at a rate not less than one and one-

half times their regular rate of pay for work performed in excess of forty hours in a workweek,

Defendant has violated the FLSA, 29 U.S.C. §§ 201, et seq., including 29 U.S.C. §§ 207(a)(1)

and 215(a).

         40.    The FLSA, 29 U.S.C. 216(b), provides that as a remedy for a violation of the Act,

an employee is entitled to unpaid overtime wages plus an equal amount in liquidated damages,

costs, and reasonable attorneys’ fees.

         WHEREFORE, Plaintiff requests the following relief:

                a.     Declaring that Defendant willfully violated the FLSA and its attendant
                       regulations as set forth above;

                b.     Granting judgment in favor of Plaintiff and against Defendant and
                       awarding the amount of unpaid overtime wages calculated at the rate of
                       one and one-half (1.5) times Plaintiff’s regular rate multiplied by all hours
                       that Plaintiff worked in excess of forty (40) hours per week;

                c.     Awarding liquidated damages to Plaintiff, in an amount equal to the
                       amount of unpaid overtime wages found owing to Plaintiff;

                d.     Awarding reasonable attorney fees and costs incurred by Plaintiff in
                       prosecuting this action;

                e.     Awarding pre- and post-judgment interest to Plaintiff on these damages;
                       and

                f.     Such further relief as this court deems appropriate.

                                         JURY DEMAND

         41.    Plaintiff hereby demands a jury trial on all claims so triable in this action.




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Dated: September 28, 2015           Respectfully submitted,

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